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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,                                              Criminal No. 17-CR-20303-01

vs.                                                            HON. BERNARD A. FRIEDMAN

ROGER ALLEN YATZEK,

      Defendant.
_____________________________/

                         OPINION AND ORDER DENYING
                DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

                 This matter is presently before the Court on defendant’s motion for compassionate

release [docket entry 23]. The government has filed a response in opposition, and defendant has

filed a reply. Pursuant to E.D. Mich. LR 7.1(f)(2), the Court shall decide this motion without a

hearing. For the reasons stated below, the Court shall deny the motion.

                 Defendant, currently confined at FCI-Elkton in Lisbon, Ohio, seeks compassionate

release under 18 U.S.C. § 3582(c)(1)(A)1 on the grounds that he “suffers from asthma, diabetes,


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           Section 3582(c) states in relevant part:

                 Modification of an Imposed Term of Imprisonment.—The court may
                 not modify a term of imprisonment once it has been imposed except
                 that—

                 (1) in any case—

                 (A) the court, upon motion of the Director of the Bureau of Prisons,
                 or upon motion of the defendant after the defendant has fully
                 exhausted all administrative rights to appeal a failure of the Bureau
                 of Prisons to bring a motion on the defendant’s behalf or the lapse of
                 30 days from the receipt of such a request by the warden of the
                 defendant’s facility, whichever is earlier, may reduce the term of
                 imprisonment (and may impose a term of probation or supervised
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obesity, hyperlipidemia, and hypertension, making him particularly susceptible to severe

complications from the virus.” Def.’s Mot. at 1-2. The government concedes that defendant’s

medical conditions place him at heightened risk, and that he has exhausted his administrative

remedies, but it opposes the motion on the grounds that he does not meet the other requirements for

compassionate release.

               This Court has summarized the legal standards applicable to this motion as follows:

               The compassionate release statute allows the Court to modify a
               defendant’s term of imprisonment if: (1) he fully exhausts all
               administrative remedies; (2) he shows both “extraordinary and
               compelling reasons warrant such a reduction [or release]” and that the
               reduction or release is consistent with” the Sentencing Commission’s
               policy statements; (3) he is not a danger to any other person or the
               community; and (4) the factors in 18 U.S.C. § 3553(a) support the
               reduction or release to the extent they are applicable. See 18 U.S.C.
               § 3582(c)(1)(A)(I); United States Sentencing Guidelines Manual
               (“USSG”) § 1B1.13 cmt. n.1; United States v. Austin, No. 15-20609,
               2020 WL 2507622, at *1 (E.D. Mich. May 15, 2020).

                                            *    *   *

               Section 1B1.13 of the Sentencing Guidelines is the “applicable policy
               statement” with which the Court must comply when considering a
               request for compassionate release. Section 1B1.13 explains that a
               defendant must “not [be] a danger to the safety of any other person
               or to the community” under 18 U.S.C. § 3142(g) and must fit within
               at least one of the following four categories of “extraordinary and
               compelling reasons”: (1) the defendant’s medical condition; (2) the
               defendant’s age; (3) the defendant’s family circumstances; and (4)
               other reasons as determined by the BOP. USSG § 1B1.13 cmt. n.1;



               release with or without conditions that does not exceed the unserved
               portion of the original term of imprisonment), after considering the
               factors set forth in section 3553(a) to the extent that they are
               applicable, if it finds that—

               (i) extraordinary and compelling reasons warrant such a reduction
               ....

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               Austin, 2020 WL 2507622, at *1.

United States v. Wingo, No. 15-20450, 2020 WL 4676388, at *1-2 (E.D. Mich. Aug. 12, 2020).

               The Court has considered these factors and concludes that compassionate release

would not be appropriate in this case. First, although defendant’s medical conditions make him

more vulnerable if he were to be infected, defendant has not shown that the risk of infection at FCI-

Elkton is unacceptably high. The Bureau of Prisons currently reports that two staff members and

two inmates at that facility, out of a population of 1,532, are infected.                        See

https://www.bop.gov/coronavirus (last visited Oct. 1, 2020). Further, the government notes in

its response brief that as mid-September 2020 it has reduced the prison population by granting

home confinement to over 7,600 inmates nationwide and that it has taken significant steps to

minimize the spread of the virus at all BOP facilities. The Sixth Circuit has acknowledged these

efforts. See Wilson v. Williams, 961 F.3d 829, 841 (6th Cir. 2020). Defendant in the present

case has not shown that the BOP’s efforts to combat the spread of the virus are inadequate or

that FCI-Elkton would be unable to adequately treat him if he became ill.

               This Court has stated that “[a] generalized risk of contracting COVID-19, or

potentially developing the more severe symptoms associated with it, are not the type of

‘extraordinary and compelling reasons’ that justify compassionate release.” United States v.

Gordon, No. CR 11-20752, 2020 WL 4381948, at *4 (E.D. Mich. July 31, 2020). See also

United States v. Shah, No. 16-20457, 2020 WL 1934930, at *2 (E.D. Mich. Apr. 22, 2020)

(“[S]peculation as to whether COVID-19 will spread through Defendant’s detention facility, .

. . whether Defendant will contract COVID-19, and whether he will develop serious

complications does not justify the extreme remedy of compassionate release.”). Defendant has


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shown no more than a generalized risk, not a risk that is specific to him based on his living

circumstances and medical conditions.

               The Court concludes that defendant has failed to show the existence of any

extraordinary and compelling reason warranting his immediate release from prison. The Court

also finds that release in this case would be all the more inappropriate in light of the fact that

defendant has served only approximately three-fifths of his sentence for a serious crime. The

Court sentenced defendant in September 2017 to a 60-month prison term (the statutory

mandatory minimum), pursuant to a Rule 11 Plea Agreement wherein defendant pled guilty to

receipt of child pornography.2 The Sixth Circuit has noted that a defendant’s failure to serve a

significant portion of his sentence is something the Court may consider in deciding a motion for

compassionate release, as it relates to the 18 U.S.C. § 3553(a) factors of reflecting the

seriousness of the offense, promoting respect for the law, and providing just punishment for the

offense. See United States v. Kincaid, 805 F. App’x 394, 395 (6th Cir. 2020). In the present



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        The factual basis for defendant’s guilty plea is set forth in the plea agreement at
paragraph 1C as follows:

                      On July 2, 2015, federal authorities executed a search
               warrant at the Defendant’s residence in Palmyra, Michigan and
               recovered 17 items for forensic analysis. The Defendant was
               present and identified the devices he used to search for
               pornography.

                       A forensic analysis of the Defendant’s devices revealed
               that, between the dates of September 10, 2014 and July 2, 2015,
               the Defendant received over a thousand child pornography images
               and/or videos by downloading them from the internet. There were
               images of children under the age of 12 and images depicting
               sadomasochistic conduct. There were at least two images
               containing bestiality.

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case, the Court finds that releasing defendant after he has served only sixty percent of his

sentence would undermine each of these important sentencing objectives.

              Accordingly,



              IT IS ORDERED that defendant’s motion for compassionate release is denied.



                                          s/Bernard A. Friedman
                                          BERNARD A. FRIEDMAN
Dated: October 2, 2020                    SENIOR UNITED STATES DISTRICT JUDGE
       Detroit, Michigan




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